       Caseand
Name, Address 2:16-cv-00885-R-JC        Document
                 Telephone Number of Attorney(s):     44 Filed 12/29/16 Page 1 of 1 Page ID #:229
Richard T. Copeland, Esq. (SBN 213605)
CONFLICT SOLUTION SERVICES
450 N. Brand Boulevard, Suite 600
Glendale, California 91203
(310) 968-6070

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER
SHERYN CAMPRONE, et.al.
                                                                                  16-CV-885-R
                                           Plaintiff(s)
                           v.
CITY OF LOS ANGELES, et.al.
                                                                           MEDIATION REPORT

                                           Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.
1.       ✔   A mediation was held on (date): September 13, 2016            .

             A mediation did not take place because the case settled before the session occurred.

2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by Civil L.R. 16-15.5(b).
                    Did not appear as required by Civil L.R. 16-15.5(b).
                            Plaintiff or plaintiff's representative failed to appear.
                            Defendant or defendant's representative failed to appear.
                            Other:

3.      Did the case settle?
                ✔   Yes, fully, on Sept. 13, 2016         (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                    No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?
                                    .

Dated: December 29, 2016
                                                                               Signature of Mediator
                                                                                Richard T. Copeland
                                                                               Name of Mediator (print)
The Mediator is to electronically file original document.

ADR-03 (01/14)                                   MEDIATION REPORT                                           Page 1 of 1
